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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                                      MDL NO. 2924
    PRODUCTS LIABILITY                                                               20-MD-2924
    LITIGATION
                                                        JUDGE ROBIN L. ROSENBERG
                                               MAGISTRATE JUDGE BRUCE E. REINHART

    _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                  PRETRIAL ORDER #_24
    Order Relating to Initial Status Conference, Setting Forth General Case Management
   Matters and Coordinated Filing Protocols, and Appointing Interim Pro Se Litigant Liaison

          On May 12 and 13, 2020, this Court convened the Initial Conference and Preliminary

   Discovery Conference pursuant to Pretrial Order # 16 (“PTO # 16”) (DE # 557). The proceedings

   were conducted via Zoom as a result of COVID-19 restrictions. The proceedings were open to the

   public, provided that attendees registered in advance as a reasonable security precaution to prevent

   interruption with the electronic transmission.     As directed in PTO # 16, the parties made

   presentations on “foundational topics” and “key concepts in this case” to assist the Court in

   learning about some of the factual, legal and scientific issues the parties anticipate will be

   developed during the course of this MDL proceeding.

          PTO # 16 also directed the parties to address case management issues that the parties have

   been discussing and working on over the past couple of months, and the parties provided the Court

   with a summary of their discussions. The parties also advised the Court of their agreement to a

   case management schedule that includes: full non-bifurcated discovery that opens on the latter of

   June 1, 2020, or the date of entry of Orders relating to Confidentiality, Privilege, Electronically

   Stored Information (“ESI”), and Preservation; a discovery period that continues for 18 months,
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   culminating in the filing of Daubert motions relating to general causation, as well as motions for

   class certification; and, as necessary, a subsequent period for bellwether selection and case-specific

   bellwether discovery in the personal injury cases, with the timeframe for completion of

   case-specific bellwether discovery to be negotiated and submitted to the Court within 30 days of

   the Court’s general causation Daubert rulings. As contemplated by Pretrial Order # 15 (DE # 547),

   the parties will begin discussing the methods and process for bellwether case selection and will

   work toward reducing the bellwether pool during the 18-month discovery period preceding the

   filing of Daubert motions and up to the Court’s rulings on the Daubert motions.

          The Court and the parties further discussed the entry of additional orders to advance the

   proceedings in this MDL, as reflected below. In addition, the Court directed the parties to address

   any additional “housekeeping” matters in this Order that would facilitate the efficient

   administration of this MDL.

          Based on the presentations by and recommendations of counsel regarding these case

   management issues and other matters, the Court ORDERS and ADJUDGES as follows:

          1.      The Court adopts the parties’ proposed schedule that a hearing on Daubert

   challenges on general causation will precede bellwether selection, and general causation Daubert

   motions shall be filed 18 months following the initiation of discovery. Plaintiffs shall complete

   all fact discovery of Defendants, including document discovery and fact depositions, and the

   parties shall complete expert discovery necessary to prepare general causation Daubert motions,

   within that 18-month period. Plaintiffs’ motions for class certification shall also be filed 18 months

   following the initiation of discovery. During that 18-month period, the parties shall engage in all

   fact discovery, including document discovery and depositions, to prepare for the filing of the class

   certification motions. All discovery referenced in this Order shall be subject to and consistent with



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   Federal Rule of Civil Procedure 26. Nothing in this Order precludes the parties from reaching

   agreements regarding the scope and timing of this discovery to fit the needs of the case and/or the

   respective roles of the parties in the supply chain.

          2.      By June 1, 2020, the parties shall email in WORD format to the Court at

   zantac_mdl@flsd.uscourts.gov proposed Agreed Orders addressing Confidentiality, Privilege,

   ESI, and Preservation, or, in the event the parties are unable to reach agreement on any or all such

   proposed Orders, the parties shall notify the Special Master. The Court may promptly schedule a

   hearing to resolve the disputed issues. The 18-month discovery periods referenced in paragraph 1

   above shall begin upon the entry of these four Orders.

          3.      The parties are continuing to work to finalize proposed Orders regarding Document

   Authenticity, In Extremis Depositions, Streamlined Service/Process, and Master Pleadings, and

   shall either submit such Orders as agreed upon, or notify the Special Master that an agreement is

   unlikely, on or before June 1, 2020. The Court may at an appropriate time schedule a hearing to

   resolve the disputed issues if such need exists. All proposed Orders shall be emailed in WORD

   format to the Court at zantac_mdl@flsd.uscourts.gov.

          4.      By June 1, 2020, the parties shall submit their proposed Agreed Scheduling Order

   for this MDL proceeding from the opening of discovery as defined above through Daubert motions

   relating to general causation, as well as Plaintiffs’ motions for class certification. In the event the

   parties are unable to reach agreement on any portion of the proposed Agreed Scheduling Order,

   they shall notify the Special Master by June 1, 2020. The Court may promptly schedule a hearing

   to resolve the disputed issues if such need exists. The Agreed Scheduling Order shall be emailed

   in WORD format to the Court at zantac_mdl.flsd.uscourts.gov.




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           5.      By June 1, 2020, Plaintiffs’ Co-Lead Counsel shall submit an updated proposed

   Protocol for Common Benefit Work and Expenses. The Protocol shall be emailed in WORD

   format to the Court at zantac_mdl.flsd.uscourts.gov.

           6.      By June 22, 2020, Plaintiffs shall file their Master Personal Injury Complaint and

   Master Class Action Complaints.

           7.      The first Case Management Conference following the Initial Conference will be

   scheduled for early July 2020. By separate order, the Court will communicate the date and means

   of attendance, which the Court anticipates will likely be through Zoom videoconference, given the

   continuing COVID-19 situation.

           8.      At the July Case Management Conference, the parties are directed to make a

   recommendation to the Court with respect to a mechanism for keeping the Court and the parties’

   Co-Lead Counsel apprised of state court filings relating to the subject matter of this MDL. In the

   interim period, all Plaintiffs’ counsel appointed to leadership under Pretrial Order # 20 shall

   promptly notify Plaintiffs’ Co-Lead Counsel and Plaintiffs’ Liaison Counsel (Frank Maderal) if

   they file a case in state court, or if a case is filed in state court on behalf of one of their retained

   clients. Likewise, all Defendants are directed to promptly notify Defendants’ Liaison Counsel

   (Joanne O’Connor) of any state court filings regarding Zantac and/or ranitidine that are sufficiently

   similar to the claims in this MDL that if they were filed in federal court they would be susceptible

   to transfer to this Court. Plaintiffs’ Co-Lead Counsel and Defendants’ Liaison Counsel are

   directed to provide a weekly update to the Special Master, who is directed to keep the Court

   appropriately apprised of these developments. The Court expects that Plaintiffs’ Co-Lead Counsel

   and Defendants’ Liaison Counsel will use this interim period to explore the best methods to collect,




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   manage, and disseminate data, which will help inform a more complete and tested recommendation

   to the Court on how to manage state/federal case tracking going forward.

           9.     The Court further directs Plaintiffs’ Co-Lead Counsel to make recommendations to

   the Court with respect to ensuring that pro se litigants are kept reasonably informed in the MDL.

   Mr. Maderal shall serve as the interim pro se litigant liaison until such permanent liaison(s) are

   selected, if deemed necessary. Nothing in this Order shall prevent Plaintiffs’ Co-Lead Counsel

   from assigning another attorney to serve as the individual point of contact for a particular pro se

   litigant.

           10.    Given the nature and size of this MDL, the Court seeks to utilize a procedure for

   the filing of motions that will enable the Court to efficiently manage the case and the filings (since

   the Transfer Order was issued on February 6, this case has generated over 760 docket entries). At

   the same time, the Court is mindful of the importance of providing every party with access to the

   Court. Thus, the Court implements the following procedure for the filing of motions to facilitate

   such access and, at the same time, streamline and coordinate the filings. The Court does not

   anticipate, expect, or encourage filings from any Plaintiff or Plaintiffs’ counsel other than

   Plaintiffs’ Co-Lead Counsel, or any filings from any Defendant or Defendant’s counsel other than

   Co-Lead Defense Counsel. Absent further Order of this Court, any Plaintiff or Plaintiff’s counsel

   seeking to file a motion in this proceeding must first confer with Plaintiffs’ Co-Lead Counsel to

   determine whether Plaintiffs’ Co-Lead Counsel consents to the filing of said motion. Any

   Defendant or Defendant’s counsel seeking to file a motion must first confer with Co-Lead Defense

   Counsel to determine whether Co-Lead Defense Counsel consents to the filing of said

   motion. Leadership and the moving party shall work in good faith to resolve any concerns

   regarding the proposed motion. If Co-Lead Counsel consents to the filing of the motion, the



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   moving party shall include in the motion an affirmation confirming such consent. If Co-Lead

   Counsel does not consent to the filing of the motion, the moving party must confer with the Special

   Master in advance concerning the appropriateness of the motion, and may file the motion only

   after submitting a motion for leave of Court to file it. The motion for leave to file shall set forth

   the reasons why the underlying motion is necessary or appropriate at that time and shall include a

   copy of the underlying motion as an attachment. The underlying motion may be filed only upon

   entry of an Order by the Court granting permission to file said motion. The procedure set forth in

   this paragraph does not apply to any motion signed by Co-Lead Counsel.

           11.    Any pleading or other paper filed on behalf of all Plaintiffs shall be signed by one

   of the Plaintiffs’ Co-Lead Counsel. Any pleading or other paper filed on behalf of all Defendants

   shall be signed by one of the Co-Lead Defense Counsel.

           12.    If a motion is signed by Co-Lead Counsel and raises issues common to more than

   one case pending in this MDL, the motion must be filed on behalf of all pending cases that have

   the common issue.

           13.    All counsel shall comply with Rule 7.1 of the Local Rules for the Southern District

   of Florida when filing motions.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 28th day of May,

   2020.


                                                         _______________________________
                                                         ROBIN L. ROSENBERG
                                                         UNITED STATES DISTRICT JUDGE




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